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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

Richard Jones                             )
                                          )         CIVIL ACTION FILE
      Plaintiff,                          )         NO. 1:21-cv-4656
                                          )
v.                                        )
                                          )
Graycor Southern, Inc.                    )
                                          )         Jury Trial Demanded
      Defendant.                          )
                                          )

                                   COMPLAINT

      COMES NOW, Richard Jones, Plaintiff in the above-styled action, and hereby

submits this Complaint against Defendant Graycor Southern, Inc. (hereinafter

“Graycor” or Defendant).

                         JURISDICTION AND VENUE

                                          1.

      The jurisdiction of this Court is invoked pursuant to 29 U.S.C. § 1331 (federal

question) based on Plaintiff asserting causes of action against Defendant under the

Age Discrimination In Employment Act of 1967 as amended, 29 U.S.C. sec. 621, et

seq. ("ADEA"). Plaintiff is seeking declaratory relief, injunctive relief, damages,

attorneys’ fees and expenses of litigation to redress the deprivation of his rights by

Defendant because of its discriminatory treatment of him.



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                                          2.

      Declaratory relief is sought pursuant to 28 U .S .C. § 2201.

                                          3.

      Injunctive relief is sought pursuant to Rule 65, Federal Rules of Civil

Procedure.

                                          4.

      Defendant has maintained office space and conducted business within the area

encompassed by the Atlanta Division of the Northern District of Georgia, as defined

under 28 U.S.C. § 1391(c), for all times relevant to the instant lawsuit, and the

unlawful employment practices complained of by Plaintiff are alleged to have been

committed in the State of Georgia. Accordingly, venue in this Court is proper

pursuant to 28 U.S.C. § 1391(b) and 29 U.S.C. 2000e-5(f)(3).

                                     PARTIES

                                          5.

      Plaintiff is a citizen of the United States who, at all times relevant to this

Complaint, resided in the State of Georgia. Plaintiff currently resides in Florida.

                                          6.

      Plaintiff was an “employee” of Defendant within the meaning of the ADEA,

29 U.S.C. § 630 (f), at all times relevant to this Complaint.




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                                         7.

      Plaintiff, who is currently sixty-two (62) years old, falls within ADEA's

protections from discrimination based on his age.

                                         8.

      Defendant Graycor Southern, Inc. is a Delaware corporation that may be

served by any method permitted by the Federal Rules of Civil Procedure, including

personal service on an officer of the company wherever it maintains a corporate

office, including 2100 Barrett Park Drive, Suite 501, Kennesaw, Georgia 30144.

                                         9.

      Graycor is also registered with the Georgia Secretary of State’s office and may

be served through its registered agent, CT Corporation System, 289 S Culver St,

Lawrenceville, GA, 30046-4805.

                                        10.

      Graycor meets the definition of “employer” within the meaning of the ADEA.

                      ADMINISTRATIVE PROCEDURE

                                        11.

      On or about May 15, 2020, Plaintiff filed a timely Charge of Discrimination

against Defendant with the U.S. Equal Employment Opportunity Commission

alleging age discrimination. Such Charge of Discrimination was filed within 180

days of the occurrence of the last act on which this Complaint is based.

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                                         12.

      This civil action is instituted in the appropriate federal district court within

ninety (90) days of Plaintiff’s receipt of the Notice of Right to Sue from the U. S.

Equal Employment Opportunity Commission relating to his Charge of

Discrimination against Defendant. See Exhibit A.

         CLAIM FOR DECLARATORY AND INJUNCTIVE RELIEF

                                         13.

      This is a proceeding for a declaratory judgment as to the Plaintiff's rights and

for a permanent injunction enjoining the Defendant from maintaining a policy or

practice of:

      A.       Discriminating against Plaintiff because of his age with respect to

               compensation, terms, conditions, and privileges of employment.

      B.       Limiting, segregating, and classifying Plaintiff in ways that deprive

               him of employment opportunities and otherwise adversely affect his

               status as an employee because of his age.

                            STATEMENT OF FACTS
                                         14.

      Plaintiff was hired by Early Construction, Inc. in October 2018 as Chief

Estimator, and was to begin work on or about November 30, 2018 at the company’s

Kennesaw, Georgia office.


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                                          15.

      In approximately December 2018, Early Construction Inc. became Graycor

Southern, Inc.

                                          16.

      Mr. Jones remained in his position as Chief Estimator after Early Construction

became Graycor.

                                          17.

      Throughout his employment with Early Construction, Inc. and Graycor,

Plaintiff reported to Shawn Buchanan, Vice President and General Manager.

                                          18.

      On November 19, 2019, Mr. Buchanan terminated Plaintiff’s employment

because Planitiff allegedly “did not fit in to the company’s culture.”

                                          19.

      Graycor replaced Plaintiff with a substantially younger individual.

                                          20.

      Shortly prior to Plaintiff’s termination Mr. Buchanan tasked Plaintiff with

terminating two other older Graycor employees1 and, in doing so, instructed Plaintiff

to cite “performance” as the reason for termination because these two employees


1
 To protect their privacy, Plaintiff will refer to these employees by their initials.
One was H.C. (male, age 62) and the other is J.N. (male, late 50’s).

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were “in the protected category.”

                                        21.

      H.C. was almost immediately replaced by a much younger estimator.

                                        22.

      On multiple occasions, Mr. Buchanan told Plaintiff that J.N. was “old and

weird and did not fit in to the company culture.”

                                 COUNT I
                         ADEA-AGE DISCRIMINATION

                                        23.

      Plaintiff re-alleges each and every allegation in paragraphs 1 through 22 as

though set forth in full herein.

                                        21.

      Graycor has intentionally engaged in unlawful employment practices and

policies in violations of the ADEA by terminating the employment of Plaintiff and

others’ employment because of their age.

                                       22.

      As a result of Defendant’s conduct, Plaintiff has suffered lost wages and

benefits.

                                        23.

      Defendant’s actions were intentional and were committed with reckless



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disregard of Plaintiff’s federally protected rights.

                                          24.

      Plaintiff is now suffering and will continue to suffer irreparable injury from

Defendant’s policies, customs, and the specific acts of discrimination as set forth

herein.

                              PRAYER FOR RELIEF

      WHEREFORE, Plaintiff respectfully prays for this Court to advance this case

on the docket, to order a speedy hearing at the earliest practicable date, to cause this

action to be in every way expedited, and upon such a hearing to:

   1. Issue a declaratory judgment that the Defendant’s acts, policies, practices, and

      procedures complained of herein violate the Plaintiff's rights as secured under

      the ADEA;

   2. Grant Plaintiff a permanent injunction enjoining the Defendant, its officers,

      agents, employees, attorneys, and other representatives, and those acting in

      concert with them and their direction, from engaging in any employment

      policy or practice which discriminates against employees because of their age.

   3. Grant Plaintiff judgment against the Defendant for back pay, front pay and

      other benefits and opportunities of employment of which he has been deprived

      because of Defendant’s violations of the ADEA;

   4. Grant Plaintiff liquidated damages for Defendant’s violation of the ADEA;

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  5. Grant Plaintiff attorneys’ fees, costs, and disbursements;

  6. Grant Plaintiff trial by jury; and

  7. Grant such additional and further relief as the Court deems just and proper.

            Respectfully submitted this 10th day of November 2021



                                              s/Robert C. D. McDonald
                                              Georgia Bar No. 489600
                                              Attorney for Plaintiff


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